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                      10

                      11                               UNITED STATES DISTRICT COURT

                      12                              NORTHERN DISTRICT OF CALIFORNIA

                      13                                          SAN JOSE DIVISION

                      14
                           DAVID TRINDADE, individually and on             CASE NO 5:12-CV-04759 (PSG)
                      15   behalf of all others similarly situated,
                                                                           (Complaint Filed: September 12, 2012)
                      16                 Plaintiff,
                                                                           CLASS ACTION
                      17          v.
                                                                           THIRD-PARTY PLAINTIFF REACH
                      18   REACH MEDIA GROUP, LLC, a                       MEDIA GROUP, LLC’S NOTICE OF
                           Delaware limited liability company,             INTENT NOT TO FILE AMENDED
                      19                                                   THIRD-PARTY COMPLAINT AND NOT
                                         Defendant.                        TO SERVE THIRD-PARTY DEFENDANT
                      20                                                   EAGLE WEB ASSETS INC.
                           REACH MEDIA GROUP, LLC, a                       Judge: Honorable Paul Singh Grewal
                      21   Delaware limited liability company,             Department: Courtroom 5
                      22                                                   Complaint Filed: Sept. 12, 2012
                                         Third-Party Plaintiff,            Third-Party Complaint Filed: Nov. 15, 2012
                      23          v.
                      24   RYAN LENAHAN, individually, KYLE
                           DANNA, individually, and EAGLE WEB
                      25   ASSETS INC., a corporation,
                      26                 Third-Party Defendants.
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DLA P IPER LLP (US)                                                                          NOTICE OF INTENT NOT TO
    SAN FRA NCI SCO
                                                                  FILE AMENDED THIRD-PARTY COMPLAINT AND SERVE EWA
                                                                                            CASE NO. 5:12-CV-04759 (PSG)
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                       1   TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

                       2         WHEREAS:

                       3         A. On July 31, 2013, this Court issued and entered an Order Denying Third-Party

                       4             Defendants’ Motion to Strike and Granting-In-Part Motion to Dismiss (“Order”) in

                       5             regards to Third-Party Plaintiff Reach Media Group, LLC’s (“RMG”) Third-Party

                       6             Complaint. (Dkt. #64.)

                       7         B. In relevant part, the Order required that RMG file any amended Third-Party Complaint

                       8             within 14 days of the date of the Order, which corresponded with the date August 14,

                       9             2013. (Dkt. #64.)
                      10         C. On August 14, 2013, this Court granted RMG’s motion to extend time to amend the
                      11             Third-Party Complaint and serve it on Third-Party Defendant Eagle Web Assets Inc.
                      12             (“EWA”) to September 13, 2013. (Dkt. #67.)
                      13         D. RMG no longer intends to file an amended Third-Party Complaint and no longer
                      14             intends to serve EWA with the Third-Party Complaint or an amended Third-Party
                      15             Complaint.
                      16
                           Dated: September 13, 2013                  DLA PIPER LLP (US)
                      17
                                                                      By: /s/ Vishali Singal
                      18                                                 JOSHUA M. BRIONES
                                                                         VISHALI SINGAL
                      19                                                 Attorneys for Defendant and Third-Party
                                                                         Plaintiff
                      20                                                 REACH MEDIA GROUP, LLC
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DLA P IPER LLP (US)                                                                       NOTICE OF INTENT NOT TO
    SAN FRA NCI SCO
                                                               FILE AMENDED THIRD-PARTY COMPLAINT AND SERVE EWA
                                                                                         CASE NO. 5:12-CV-04759 (PSG)
